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                                                                                             E-FILED
                                                               Tuesday, 03 February, 2015 01:50:03 PM
                                                                         Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS

PETER MCCLOUD, #R-31479,                          )
                                                  )
       Plaintiff,                                 )
                                                  )
       vs.                                        )           Case No. 14-1280
                                                  )
PAUL GRIFFITH and,                                )
LT. PRENTICE,                                     )
                                                  )
       Defendants.                                )

                        ANSWER AND AFFIRMATIVE DEFENSES

       NOW COME the Defendants, PAUL GRIFFITH and SUSAN PRENTICE, by and

through their counsel, LISA MADIGAN, Attorney General for the State of Illinois, and pursuant

to Local Rule 12.1, hereby submits their Answer and Affirmative Defenses pursuant to the

Court’s Merit Review and Case Management Order of December 1, 2014. For their answer and

affirmative defenses, Defendants state the following:

   1. Defendants deny using excessive force on Plaintiff.

   2. Defendants deny violating Plaintiff’s 8th Amendment rights with regard to his conditions

of confinement/deliberate indifference claim.

                                        Relief Requested

   A. Defendants deny that Plaintiff is entitled to any declaratory judgment.

   B. Defendants deny that Plaintiff is entitled to compensatory damages.

   C. Defendants deny that Plaintiff is entitled to any relief in this action.

                                          Jury Demand

       Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Defendants demand a trial


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by jury.

                                       Affirmative Defenses

   1. Qualified Immunity – At all times relevant herein, each Defendant acted in good faith in

the performance of his or her official duties and without violating Plaintiff’s clearly-established

statutory or constitutional rights of which a reasonable person would have known. Consequently,

each Defendant is immune from suit in accordance with the doctrine of qualified immunity.

   2. Prison Litigation Reform Act § 3626 -- The injunctive relief Plaintiff requests would

violate § 3626 of the Prison Litigation Reform Act. 18 U.S.C. 3626.

   3. Exhaustion -- Plaintiff filed this lawsuit concerning prison conditions while in the

custody of the Illinois Department of Corrections and failed to properly exhaust administrative

remedies prior to filing his suit. Plaintiff’s suit is therefore barred by 42 U.S.C. 1997e(a).

   4. Heck v. Humphrey – To the extent that Plaintiff is contradicting his ticket that resulted in

the loss of good time credit, these allegations are barred by Heck v. Humphrey, 512 U.S. 477

(1994).

   WHEREFORE, for the foregoing reasons, the Defendants pray the honorable Court enter

judgment in their favor and against Plaintiff and award the costs of this suit, and for all other

relief that is just and equitable under the circumstances.




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                                        Respectfully submitted,

                                        PAUL GRIFFITH and SUSAN PRENTICE,

                                               Defendants,

                                        LISA MADIGAN, Attorney General,
                                        State of Illinois

Amber Porter, #6317747                         Attorney for Defendants,
Assistant Attorney General
500 South Second Street
Springfield, Illinois 62706             By: __/s/ Amber M. Porter_____________
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS

PETER MCCLOUD, #R-31479,                         )
                                                 )
       Plaintiff,                                )
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       vs.                                       )            Case No. 14-1280
                                                 )
PAUL GRIFFITH and,                               )
LT. PRENTICE,                                    )
                                                 )
       Defendants.                               )

                                     Certificate of Service

        I hereby certify that on February 3, 2015, I electronically filed the foregoing Answer and
Affirmative Defenses with the Clerk of Court using the CM/ECF system which will send
notification of such filing to the following:

NONE

and I hereby certify that on February 3, 2015, I have mailed by United States Postal Service the
document to the following non-registered participant:


Peter McCloud #R31479
Pontiac Correctional Center
Inmate Mail/Parcels
P.O. Box 99
Pontiac IL 61764

                                                     Respectfully Submitted,
                                                      s/ Amber Porter_____________________
                                                     Amber Porter, #6317747
                                                     Assistant Attorney General
                                                     Office of the Illinois Attorney General
                                                     500 South Second Street
                                                     Springfield, Illinois 62706
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